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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,                          Case No.12-20074

             Plaintiff,                            Mark A. Goldsmith
v.                                                 United States District Judge

CHAD RICHARD WYKES,                                Michael Hluchaniuk
                                                   United States Magistrate Judge
          Defendant.
_______________________________/

           MAGISTRATE JUDGE’S REPORT, FINDINGS AND
         RECOMMENDATION CONCERNING PLEA OF GUILTY

I.    REPORT AND FINDINGS

      This case was referred to the undersigned Magistrate Judge pursuant to 28

U.S.C. §§ 636(b)(1)(B) and 636(b)(3) for purposes of receiving, on consent of the

parties, defendant’s offer of a plea of guilty. Defendant, along with counsel,

appeared before me on June 4, 2012. In open court, I examined defendant, under

oath, confirmed defendant’s consent, and then advised and questioned defendant,

regarding each of the inquiries prescribed by Rule 11(b) of the Federal Rules of

Criminal Procedure.

      Based upon defendants answers and demeanor, I FIND: (1) that defendant

is competent to tender a plea; (2) that defendant’s plea was knowingly,

intelligently made; and (3) that the offense to which defendant pleaded guilty is



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supported by an independent basis in fact containing each of the essential elements

of the offense. Therefore, I have ordered the preparation of a presentence

investigation report.

II.    RECOMMENDATION

       For the reasons set forth above, IT IS RECOMMENDED that, subject to

the Court’s consideration of the plea agreement pursuant to Rule 11(c) of the

Federal Rules of Criminal Procedure, defendant’s plea be accepted, defendant be

adjudged guilty, and the Court impose sentence.

III.   REVIEW

       The parties to this action may object to and seek review of this Report and

Recommendation, but are required to file any objections within 14 days of service,

as provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule

72.1(d). Failure to file specific objections constitutes a waiver of any further right

of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Sec’y of Health and

Human Servs., 932 F.2d 505 (6th Cir. 1981). Filing objections that raise some

issues but fail to raise others with specificity will not preserve all the objections a

party might have to this Report and Recommendation. Willis v. Sec’y of Health

and Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of

Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to Local Rule

72.1(d)(2), any objections must be served on this Magistrate Judge.

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      Any objections must be labeled as “Objection No. 1,” “Objection No. 2,”

etc. Any objection must recite precisely the provision of this Report and

Recommendation to which it pertains. Not later than 14 days after service of an

objection, the opposing party may file a concise response proportionate to the

objections in length and complexity. Fed.R.Civ.P. 72(b)(2), Local Rule 72.1(d).

The response must specifically address each issue raised in the objections, in the

same order, and labeled as “Response to Objection No. 1,” “Response to Objection

No. 2,” etc. If the Court determines that any objections are without merit, it may

rule without awaiting the response.

Date: June 4, 2012                         s/Michael Hluchaniuk
                                           Michael Hluchaniuk
                                           United States Magistrate Judge

                          CERTIFICATE OF SERVICE

       I certify that on June 4, 2012, I electronically filed the foregoing paper with
the Clerk of the Court using the ECF system, which will send electronic
notification to the following: Robert W. Haviland, AUSA, and Arthur Busch, and
that I have mailed by United States Postal Service the paper to the following non-
ECF participant(s): Pretrial Services Agency and United States Marshal Service.

                                           s/Tammy Hallwood
                                           Case Manager
                                           (810) 341-7887
                                           tammy_hallwood@mied.uscourts.gov




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